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 5
 6 Attorneys for Plaintiffs
 7 VIRGINIA THOMAS, ET AL.
 8
                                UNITED STATES DISTRICT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10
11 VIRGINIA THOMAS, GAIL ADAMS,                    Case No. CV 11-01729 EMC
   RODERICK CASEY, SANDRA DEAN,
12 MARCUS HILL, KIMYA HOGARTH,
   DEREK HOVER, LINDA JACKSON,                     PLAINTIFFS’ CASE MANAGEMENT
13 MICHAEL K. JACKSON, ALICIA LEWIS,               STATEMENT
   LONDON MCCLOUD, NICOLE MILNE,
14 SHELLY PARKER, MACHELLE PROCTER,
   DEAN SAUDER, MATTHEW STEPHAN,
15 DESMOND STRASSER-KING, each                     Date:     May 2, 2023
   individually and on behalf of all others        Time:     2:30 p.m.
16 similarly situated and the general public,      Dept.:    Courtroom 5, 17th Floor
17                       Plaintiffs,
18               vs.
19 HOWREY LLP, a District of Columbia limited
   liability partnership, and DOES 1-500,
20
                            Defendants.
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22
23         Plaintiffs, Virginia Thomas, et al. (“Thomas”), by and through their undersigned counsel,

24 hereby submit their case management statement in advance of the case management conference
25 scheduled for May 2, 2023, at 2:30 p.m. in Courtroom 5.
26
27
28                                 CASE MANAGEMENT STATEMENT
                                                                                         CV 11-01729 EMC
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 1          This case remains pending in the United States Bankruptcy Court, Northern District of
 2 California (In re Howrey, LLP, Case No. 11-31376-DM). Allan Diamond is the Chapter 7 Trustee in

 3 the bankruptcy case.
 4          Opposing counsel declines to speak with us on the grounds that a bankruptcy stay prevents
 5 them from having to do anything or incur any attorney fees. Therefore, we are not able to submit a
 6 joint case management statement.
 7          In light of the pending bankruptcy stay, Thomas asks the Court to stay the current Case
 8 Management Conference scheduled for May 2, 2023, and reschedule it to a date after the bankruptcy
 9 stay has lifted or an alternative date selected by the Court.
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12                                                FOR PLAINTIFF VIRGINIA THOMAS, ET AL.
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14
     Dated: April 26, 2023                        By/s/Craig M. Collins
15
                                                         Craig M. Collins
16                                                       Blum Collins, LLP

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28                                   CASE MANAGEMENT STATEMENT
                                                 2                                        CV 11-01729 EMC
